Def−006 [Notice to Show Cause re: Deficiencies] (Rev. 12/15)

                        UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, SOUTHERN DIVISION
In re:                                                                             Case No. 19−80272−TOM11
John Stoddart                                                                      Chapter 11
SSN: xxx−xx−7747
Helen Powell−Stoddart
SSN: xxx−xx−0479
         Debtor(s)

                NOTICE OF DEFICIENT FILING AND SHOW CAUSE HEARING
       Pursuant to Federal Rule of Bankruptcy Procedure 1007, the above styled Debtor shall correct and file all
proper schedules within fourteen (14) days from the filing date of the Debtor's petition. Failure to file the document(s)
within 14 days of the filing of the petition is a violation of 11 U.S.C. § 521. If all deficiencies as set forth below are
not corrected, then a hearing will be held on Monday, February 25, 2019 at 10:30 AM in Robert S. Vance Federal
Bldg, 1800 5th Ave No, Courtroom 3, Birmingham, AL 35203 to show cause why this case shall not be
DISMISSED.

        Petition Pages (Form 1 − 8 pages)
        Summary of Your Assets and Liabilities and Certain Statistical Information − Individual
        Summary of Your Assets and Liabilities − Non−Individual
        Schedules A−J
        Declaration of Schedules
        Statement of Financial Affairs
        Attorney's Disclosure of Compensation (Form 2030)
        Chapter 13 Plan − Attorney or pro se debtor responsible for service to all creditors
        Certificate of Credit Counseling
        Debt Repayment Plan (if applicable)
        Means Test (Official Form 122A−1, 122A−1Supp, 122A−2, 122B, 122C−1, or 122C−2)
        Certification of Post Petition Rent
        Employee Income Records
        Other: Schedules A, B, C, G, H, I J;

Dated: February 1, 2019                                        Joseph E. Bulgarella, Clerk
                                                               United States Bankruptcy Court
                                                               By: /s/ Leigh Tumlin




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